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9
                                    UNITED STATES DISTRICT COURT
10
                               NORTHERN DISTRICT OF CALIFORNIA
11
                                          SAN JOSE DIVISION
12
                                                                   *E-FILED - 2/13/06*
13
     UNITED STATES OF AMERICA,      )                    No. CR 06-00010-RMW
14                                  )
                    Plaintiff,      )
15                                  )                    STIPULATION AND ORDER
               v.                   )                    RESCHEDULING STATUS HEARING
16                                  )                    AND EXCLUDING TIME
     SALVADOR MACIAS-VALENCIA and )
17   HECTOR JAVIER MACIAS-VALENCIA, )
                                    )
18                  Defendants.     )
                                    )
19
20           IT IS HEREBY STIPULATED by the undersigned that the status hearing in this case,
21   currently scheduled for February 13, 2006 at 9:00 a.m. be vacated and rescheduled for Monday,
22   February 27, 2006 at 9:00 a.m. The parties further stipulate that the court may exclude the
23   period of time from February 13, 2006 through and including February 27, 2006 from the
24   computation of the period of time within which the trial must commence for the reasons set forth
25   in the proposed order below.
26   It is so stipulated.
27
     Dated: ___02/10/06___________                       ____________/S/________________
28                                                       JOHN N. GLANG
                                                         Assistant U.S. Attorney

     STIPULATION AND ORDER RESCHEDULING STATUS HEARING DATE AND EXCLUDING TIME
     CR 06-00010-RMW
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1
     Dated: _02/10/06_________                              ___________/S/____________________
2                                                           ROMMEL BONDOC
                                                            Attorney for Salvador Macias-Valencia
3
4    Dated: __02/10/06____________                          ____________/S/__________________
                                                            ALFREDO M. MORALES
5                                                           Attorney for Hector Javier Macias-Valencia
6
                                                   ORDER
7
         Based upon the stipulation of the parties, it is hereby ordered that the status hearing in this
8
     case, previously scheduled for February 13, 2006 at 9:00 a.m., be vacated and rescheduled for
9
     Monday, February 27, 2006 at 9:00 a.m.
10
         Pursuant to Title 18, United States Code, Section 3161(h), the court excludes the period of
11
     time from February 13, 2006 through and including February 27, 2006 from the computation of
12
     the period of time within which the trial must commence. The court FINDS that the ends of
13
     justice served by the delay outweigh the best interest of the public and the defendants in a speedy
14
     trial. The court bases this finding on the need to afford counsel for the defendants additional
15
     time to review discovery provided by the government and to prepare transcripts of Spanish-
16
     language audiotaped conversations involving the defendants and a governmenrt undercover
17
     agent that are relevant to the prosecution and defense of this case and as time necessary for
18
     effective preparation, within the meaning of 18 U.S.C. Section 3161(h)(8)(B)(iv).
19
20   It is so ordered:
21             2/13/06
     Dated: ________________                                 /S/ RONALD M. WHYTE
                                                            ________________________________
                                                            RONALD M. WHYTE
22                                                          United States District Judge
23
24
25
26
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28


     STIPULATION AND ORDER RESCHEDULING STATUS HEARING DATE AND EXCLUDING TIME
     CR 06-00010-RMW                                2
